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                                                                                                                                      11/04/2020




A ust a S. D e vli n
P a rt n e r
a d e vli n @ h p m b. c o m



                                                                          O ct o b er 3 0, 2 0 2 0

VI A E C F
H o n or a bl e S ar a h N et b ur n
U nit e d St at es M a gistr at e J u d g e
S o ut h er n Distri ct of N e w Y or k
4 0 F ol e y S q u ar e
N e w Y or k, N Y 1 0 0 0 7

R e:         L u cill e Tir a d o, A d mi n. v. T h e Cit y of N e w Y or k, et al.
             D o c k et N o.: 1 9 C V 1 0 3 7 7
             O ur Fil e N o.: 6 1 1- 3 2 9 0

D e ar J u d g e N et b ur n:

            I n c o m pli a n c e wit h t h e C o urt’s Or d er o n O ct o b er 2 3, 2 0 2 0, I writ e t o a d vis e t h at N oti c es
of A p p e ar a n c e f or H er n a n d o Br o w n, s/ h/ a/ C orr e cti o n Offi c er Br o w n, h a v e b e e n fil e d b y m y
offi c e t o d a y. S er vi c e of Pr o c ess h as b e e n r es ol v e d b y d esi g n ati o n of m y fir m at 9 9 P ar k A v e n u e,
N e w Y or k, N Y 1 0 0 1 6 f or s er vi c e of pr o c ess u p o n H er n a n d o Br o w n, f or t his l a ws uit o nl y.
A c c or di n gl y, t h e p arti es h a v e a gr e e d t h at d ef e n d a nt’s Br o w n’s l ast k n o w n a d dr ess is n o l o n g er
n e e d e d f or s er vi c e of pr o c ess.

           O ur fir m s u b mitt e d a pr e- a ns w er m oti o n t o dis miss o n b e h alf of T h e Cit y p urs u a nt t o
R ul e 1 2( b)( 6) of t h e F e d er al R ul es a n d Ci vil Pr o c e d ur es o n J u n e 2 6, 2 0 2 0. W e r e c e ntl y a p p e ar e d
o n b e h alf of C orr e cti o n Offi c ers W ar d, Sistr u n k, N u g e nt, D a ni els, A z e e z, C a pt ai ns B at c h el or,
Pri n c e a n d Ellis as w ell as P A Al e xis Q u e nt z, w e r e q u est e d t h at o ur p e n di n g m oti o n t o dis miss
b e e xt e n d e d t o a p pl y t o t h es e i n di vi d u al d ef e n d a nts as w ell as T h e Cit y of N e w Y or k, a n d t h at
r e q u est w as gr a nt e d b y t h e C o urt.

            As w e n o w r e pr es e nt d ef e n d a nt H er n a n d o Br o w n, s/ h/ a/ C orr e cti o n Offi c er Br o w n, w e
r es p e ctf ull y r e q u est t h at o ur p e n di n g m oti o n t o dis miss b e e xt e n d e d t o a p pl y t o d ef e n d a nt
H er n a n d o Br o w n, as w ell as T h e Cit y of N e w Y or k a n d t h e a b o v e- m e nti o n e d i n di vi d u al
d ef e n d a nts. Pl ai ntiff’s att or n e y d o es n ot o bj e ct t o t his a p pli c ati o n.




2 3 0 3 1 4 6. 2
              Case 1:19-cv-10377-LAK-SN Document 86 Filed 11/04/20 Page 2 of 2
H o n or a bl e S ar a h N et b ur n
R e: L u cill e Tir a d o, A d mi n. v. T h e Cit y of N e w Y or k, et al.
O ct o b er 3 0, 2 0 2 0
Pa ge 2


              T h a n k y o u f or y o ur c o nsi d er ati o n of t his m att er.

                                                                              R es p e ctf ull y s u b mitt e d,



                                                                              A ust a S. D e vli n
A S D/ d h

c c:          VI A E C F
              T H E L A W O F FI C E O F
              C H RI S T O P H E R H. FI T Z G E R A L D
              C hrist o p h er H. Fit z g er al d, Es q.
              Att or n e y f or Pl ai ntiff
              2 3 3 Br o a d w a y, S uit e 2 3 4 8
              N e w Y or k, N e w Y or k 1 0 2 7 9

              R o b Ri c k n er, Es q.
                Ri c k n er P L L C
              Att or n e y f or Pl ai ntiff
               2 3 3 Br o a d w a y S uit e 2 2 2 0
              N e w Y or k, N e w Y or k 1 0 2 7 9
              R o b Ri c k n er r o b @ri c k n er pll c. c o m


       DDefendants'
          ef e n d a nts' rrequest
                            e q u est ttoo eextend
                                             xt e n d ttheir
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                                                                oti o n ttoo Dis miss, EECF
                                                                             Dismiss,    C F NNo.
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                                                                                                              n cl u d e DDefendant
                                                                                                                           ef e n d a nt CCO
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        HHernando
          er n a n d o Br  o w n is
                         Brown     is GGRANTED.
                                         R A N T E D.
        S O OORDERED.
       SO        R D E R E D.



       DDated:
         at e d: NNovember
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2 3 0 3 1 4 6. 2
